
Cateow, Ch. J.
delivered the opinion of the court.
Douglass sued Morford and Terrel in trover for a negro slave, and there was judgment for the defendants. Douglass appealed in error to the supreme court, and since the last term has died; and it is now moved to revive the appeal and suit, in the name of the administrator of Douglass; which is resisted.
By the 4 Edw. III, ch. 7, the administrator of Douglass has the right to sue for and recover in trover for a conversion of the goods of the intestate in his lifetime. 1 Chit. Pl. 57, 58: Toller 158-9. And by the act of 1786, ch. 14, sec. 1, the administrator is authorized to carry on the suit after the death of the plaintiff on application; and by the acts of 1785, ch. 2, sec. 2, and 1794, chapter I, section 63, the administrator is authorized to proceed with the appeal. Where the administrator has the right of action', we hold he has the consequent right to revive and continue the suit commenced in the life time of the intestate. The motion to revive is therefore sustained..
Motion sustained.
